     Case 4:24-cv-04722-YGR          Document 182   Filed 06/20/25   Page 1 of 12



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   and X.AI Corp.
 8
                                 UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10

11    ELON MUSK, et al.,                            Case No. 4:24-cv-04722-YGR

12                     Plaintiffs,                  Assigned to Hon. Yvonne Gonzalez Rogers

13        v.                                        PLAINTIFFS’ OPPOSITION TO
                                                    MICROSOFT’S MOTION TO
14    SAMUEL ALTMAN, et al.,                        DISMISS COUNTS XX AND XXI
15
                       Defendants.                  Date:    July 15, 2025
16                                                  Time:    2:00 p.m.
                                                    Place:   Courtroom 1 (4th Fl.)
17                                                           1301 Clay St.
                                                             Oakland, CA 94612
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                                                                     CASE NO. 24-CV-04722-YGR
                                                                 PLAINTIFFS’ OPP. TO MSOFT MTD
     Case 4:24-cv-04722-YGR         Document 182            Filed 06/20/25   Page 2 of 12



 1                            STATEMENT OF ISSUES TO BE DECIDED

 2          Pursuant to Local Civil Rule 7-4(a)(3), Plaintiffs identify the following issues to be decided:

 3          1.     Whether Microsoft’s Motion to Dismiss Count XX (violations of RICO, Section

 4 1962(c)) should be denied because the Court has already determined the Plaintiffs have plausibly

 5 pled Microsoft’s specific intent and conduct constituting predicate acts under RICO, which the SAC

 6 alleges were integral parts of the operation of an enterprise through a pattern of racketeering activity

 7 that RICO was intended to reach.

 8          2.     Whether Microsoft’s Motion to Dismiss Count XXI (conspiracy to violate RICO,

 9 Section 1962(d)) should be denied because Plaintiffs have plausibly alleged a substantive RICO
10 violation and, even in the purported absence of such, Plaintiffs have plausibly alleged an agreement

11 to violate RICO.

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                                                       ii                    CASE NO. 24-CV-04722-YGR
                                                                         PLAINTIFFS’ OPP. TO MSOFT MTD
     Case 4:24-cv-04722-YGR          Document 182           Filed 06/20/25    Page 3 of 12



 1                                            INTRODUCTION

 2          Microsoft’s renewed Motion to Dismiss purports to make three arguments, 1 but in reality, its

 3 Motion centers on a single theory: that all alleged predicate acts were committed by OpenAI before

 4 Microsoft’s involvement, thereby absolving Microsoft of RICO liability. This position, however,

 5 wholly ignores both the Court’s prior rulings and the Second Amended Complaint’s (“SAC”)

 6 specific factual allegations regarding Microsoft’s infiltration of, and active participation in, the

 7 enterprise at issue.

 8          Microsoft’s first argument—that the SAC fails to allege predicate acts and specific intent—

 9 is a transparent attempt to relitigate the Court’s order on Microsoft’s original Motion to Dismiss.
10 The Court has already determined that Plaintiffs plausibly pled at least two claims dependent on

11 Microsoft’s knowledge and specific intent to engage in activities integral to OpenAI’s pattern of

12 fraud. Dkt. 163 at. 4-5 (tortious interference with contract); id. at 8 (aiding and abetting breach of

13 fiduciary duty); see Dkt. 170 ¶¶ 282, 284-85 (detailing Microsoft’s knowing and intentional

14 “unlawful[] exploit[ation]”); id. ¶¶ 411, 413, 418 (“actual knowledge” and “act[ed] with intent”).

15          Even if those holdings did not control, the Court’s order was clear: The defect in Plaintiffs’

16 First Amended Complaint (“FAC”) was a failure to “identify how the named defendants operated

17 the entity through a pattern of racketeering activity,” Dkt. 163 at 10—not any defect in the

18 allegations of Microsoft’s specific intent or participation in predicate acts, which the Court already

19 determined were plausibly pled earlier in the complaint, and which are both incorporated by

20 reference and repeated in the RICO claims. Dkt. 170 ¶¶ 419, 454. Regardless, the SAC pleads such

21 elements with as much particularity as possible under the circumstances and given the positions of

22 the parties.

23          Microsoft’s Statement of Issues splits its next argument into two: whether the SAC plausibly

24 “plead[s] the operation of an enterprise through racketeering activity” and whether “Microsoft

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     1
     The Court’s Standing Order bars incorporation by reference (¶ 21(b)), yet Microsoft—despite
26
   ample available space in its Motion—utterly fails, beyond reference to OpenAI’s renewed motion,
27 to supply argument, authority, or even citation to the challenged pleading for the arguments it
   makes in Part IV.A. Dkt. 173 at 4-5. Even were the Court to grant relief to OpenAI on one of these
28 theories, it should deny relief to Microsoft based on waiver.

                                                        1                     CASE NO. 24-CV-04722-YGR
                                                                          PLAINTIFFS’ OPP. TO MSOFT MTD
     Case 4:24-cv-04722-YGR          Document 182           Filed 06/20/25    Page 4 of 12



 1 conducted [the enterprise’s] affairs in a manner RICO was intended to reach.” Dkt. 173 at ii. But as

 2 Microsoft’s Motion makes clear, these are but a single argument. Id. at 6-7. Regardless, neither

 3 argument engages the SAC’s specific allegations of Microsoft’s active participation in the OpenAI

 4 Defendants’ fraudulent scheme. Contrary to Microsoft’s characterization, the SAC does not allege

 5 that Microsoft was a passive bystander to OpenAI’s conduct. It alleges that Microsoft actively

 6 participated in a systematic scheme to loot a charity (the enterprise) of its assets, which involved the

 7 use of interstate electronic communications to convey fraudulent misrepresentations to donors and

 8 AI talent, and otherwise to implement the scheme; interstate wire transfers of fraudulently obtained

 9 donations, and Microsoft’s active participation in the structuring of covert deals to divert OpenAI,
10 Inc.’s charitable assets (technology and AI talent), even while Musk was still actively donating to

11 the non-profit. Dkt. 170 ¶¶ 94, 110-11, 446.

12          Microsoft achieved this by securing for itself exclusive agreements that maximized its

13 leverage over OpenAI and knowingly violated the conditions of Musk’s donations, id. ¶¶ 110, 131,

14 while simultaneously coordinating the creation of a complex web of for-profit entities, in which

15 Microsoft holds significant stakes, id. ¶¶ 121-23, 194, to exploit the charity’s assets with little or no

16 revenues flowing to the charity, id. ¶ 129. The result: Microsoft obtained “a right to 75% of

17 OpenAI’s profits,” id. ¶ 194, structured so that “OpenAI would need to generate $2.2 trillion in

18 profits before this for-profit scheme would begin funneling anything more than a nominal 2% back

19 to the charity,” id. ¶ 195—all but ensuring the diversion of OpenAI, Inc.’s charitable assets to

20 Microsoft’s benefit. A strikingly one-sided and generous arrangement for an uninvolved, arms-

21 length bystander, indeed.

22          And lest there be any doubt, the boastful proclamation of Microsoft’s own CEO belies any

23 claim that it was a passive participant and supports the systematic infiltration and control of the

24 enterprise by this RICO defendant: “We are in there [OpenAI]. We are below them, above them,

25 around them.” Id. ¶ 156.

26                                           LEGAL STANDARD

27          The Court is well-versed in the standard of review applicable to motions to dismiss, which is

28 not in dispute.

                                                        2                     CASE NO. 24-CV-04722-YGR
                                                                          PLAINTIFFS’ OPP. TO MSOFT MTD
     Case 4:24-cv-04722-YGR           Document 182           Filed 06/20/25    Page 5 of 12



 1                                                ARGUMENT

 2       I.   THE SAC ADEQUATELY PLEADS PREDICATE ACTS BY MICROSOFT.
 3            Microsoft’s primary argument—that it committed no predicate acts—fails on the merits

 4 because it ignores that Plaintiffs’ RICO claims plead the continuing nature of the fraudulent scheme

 5 and Microsoft’s active participation in perpetuating it. E.g., Dkt. 170 ¶ 439. The underlying wire

 6 fraud scheme was simple: obtain donations from Musk and convince him to recruit instrumental AI

 7 talent under the false pretense of developing AI technology for charitable purposes, then

 8 systematically divert that technology, talent and the resulting value to enrich Defendants through an

 9 opaque web of for-profit entities. Id. ¶ 421. The SAC alleges that Microsoft served as the essential
10 partner in this operation, helping Defendants unlawfully exploit OpenAI’s charitable assets—

11 including orchestrating the effective for-profit conversion of the charity, without regulatory

12 approval, founding and funding the for-profit entities, and pillaging the non-profit’s assets, tied to

13 exclusive contracts for Microsoft’s private gain, while actively making and endorsing

14 misrepresentations about OpenAI’s mission to conceal the ongoing fraud and induce further

15 contributions from Musk. Id. ¶¶ 431, 446.

16            The SAC alleges “Microsoft[] relied on wires to invest [funds obtained from Musk] in

17 furtherance of their fraudulent scheme, and, on information and belief, relied on email or other

18 forms of electronic communication to exchange information about their receipt and usage of such

19 funds and contributions.” Id. ¶ 427. Microsoft’s pervasive conduct extends beyond passive investor

20 to active operator. Id. ¶ 156 (“We are in there. We are below them, above them, around them.”).

21            Microsoft use of interstate wires as the primary funder of a fraudulent enterprise, id. ¶ 285,

22 with knowledge of the fraudulent scheme and the specific intent to profit therefrom, constitutes the

23 core of its RICO liability. While mere investment in a Ponzi scheme is not a RICO violation,

24 knowingly and intentionally providing the capital to operate such a scheme—while claiming 49% of

25 the profits from the scheme and exercising operational control—certainly is. 2

26
     2
27  To the extent Microsoft finds the comparison to a Ponzi scheme inapt, fraud is fraud—and the
   Court has already determined Plaintiffs pled two species of fraud against OpenAI, Altman, and
28 Brockman with specificity. Dkt. 163 at 5-6.

                                                         3                     CASE NO. 24-CV-04722-YGR
                                                                           PLAINTIFFS’ OPP. TO MSOFT MTD
     Case 4:24-cv-04722-YGR          Document 182          Filed 06/20/25    Page 6 of 12



 1          Plaintiffs also allege that, beginning in 2019 (while Musk was still donating), Microsoft

 2 helped create an “opaque web of for-profit OpenAI affiliates” designed to siphon OpenAI, Inc.’s

 3 charitable assets into private entities in which Microsoft held a massive stake, and to conceal

 4 OpenAI’s for-profit conversion without regulatory approval. Id. ¶¶ 5, 94, 446(d). Microsoft

 5 provided “the capital, corporate structure(s), and advice and encouragement that enabled Altman

 6 and Brockman to perpetuate their continuing wire fraud scheme.” Id. ¶ 446(a). Microsoft exploited

 7 this labyrinthine for-profit corporate maze to obscure its control and financial interest in OpenAI’s

 8 conversion, making it nearly impossible for donors, regulators, or the public to trace the diversion

 9 of charitable assets for Microsoft’s benefit. Id. ¶ 446(d). Microsoft’s participation in the predicate
10 acts was not incidental—the resulting structure “constituted the primary means through which

11 [Defendants] directed and controlled the enterprise’s most critical functions: securing the necessary

12 capital and top AI scientific talent to develop valuable AI technology so that Defendants could

13 systematically loot and exploit that technology for their own enrichment.” Id. ¶ 448.

14          The SAC further alleges that Microsoft was “vital to the scheme’s success,” misrepresenting

15 OpenAI’s non-profit status as cover while orchestrating the diversion of its charitable assets. Id.

16 ¶¶ 126-30, 446(b). The SAC alleges Microsoft made and caused to be made numerous false

17 representations via interstate wires to maintain the façade of OpenAI’s charitable mission while

18 actively cooperating in Altman and Brockman’s conversion of the charity to a fully for-profit

19 enterprise, without regulatory approval. Microsoft, like other Defendants, used “online marketing

20 (e.g., website), advertisements, and promotions” to disseminate “knowingly false and/or misleading

21 representations to defraud the public and induce the false belief that OpenAI, Inc. would be a non-

22 profit whose charitable mission is to develop safe and open-source AI/AGI technology for the

23 public good, not private gain.” Id. ¶ 428. “These false and/or misleading public pronouncements

24 served to further reassure Musk and induce him to make further contributions.” Id. (emphasis

25 added). Microsoft bears liability for all these fraudulent communications—including those made by

26 OpenAI—because Microsoft “participated in the management, operation, and/or control of OpenAI,

27 Inc.” and exercised de facto control over the organization. Id. ¶¶ 145-70, 200, 444.

28          The SAC’s specific allegations demonstrate “the commission of two or more acts of wire

                                                       4                     CASE NO. 24-CV-04722-YGR
                                                                         PLAINTIFFS’ OPP. TO MSOFT MTD
     Case 4:24-cv-04722-YGR          Document 182           Filed 06/20/25    Page 7 of 12



 1 fraud comprising [a] pattern” of “racketeering activity,” id. ¶ 441, readily satisfying the pleading

 2 standard for Microsoft’s RICO liability.

 3          For instance, the RICO claim alleges Microsoft’s predicate acts included “aid[ing] and

 4 abett[ing] the continuation of this unlawful conduct by, without limitation, providing the capital,

 5 corporate structure(s), and advice and encouragement to exploit OpenAI, Inc. and its assets for

 6 Defendants’ enrichment rather than the public’s benefit” and “siphoning off and exploiting OpenAI,

 7 Inc.’s valuable AI/AGI technology and highly skilled personnel and by facilitating and concealing

 8 Defendants’ profiteering.” Dkt. 170 ¶ 431.

 9          As to the tortious interference claim, the Court held that Plaintiffs plausibly alleged that

10 “Microsoft . . . unlawfully exploited its position of power over OpenAI, Inc.—e.g., by leveraging its

11 position as OpenAI’s exclusive compute supplier and primary current funder—to induce OpenAI,

12 Inc. to breach its agreement with Musk.” Dkt. 163 at 4-5; Dkt. 170 ¶ 285. The tortious interference

13 claim further alleges “independently wrongful conduct by [Microsoft’s] siphoning, and conspiring to

14 siphon, the non-profit’s most valuable assets into Defendants’ for-profit apparatus, as well as

15 executing exclusive licenses and agreements for Defendants’ benefit.” Id. (emphasis added). This

16 conduct is indistinguishable from the RICO predicate acts, and is both incorporated by reference

17 and re-pled in the RICO claims. Dkt. 170 ¶¶ 419, 446.

18          So too is the aiding and abetting claim, which alleges that “Microsoft provided substantial

19 assistance or encouragement to Altman, Brockman, and OpenAI, Inc., aiding and abetting their

20 breaches of fiduciary duty to Musk by, without limitation, providing the corporate forms necessary

21 to loot OpenAI, Inc. of its intellectual property and employees, drafting and executing exclusive

22 licensing and other contracts contrary to the purposes of OpenAI, Inc., and requiring the pursuit of

23 profits over safety and transparency.” Id. ¶ 413. The Court has already held Plaintiffs plausibly pled

24 those allegations, Dkt. 163 at 8, and there is no basis for Microsoft to relitigate them now.

25    II.   THE COURT HAS ALREADY HELD THAT THE SAC PLEADS MICROSOFT’S
            SPECIFIC INTENT.
26

27          Microsoft’s next argument that the SAC “remains silent” as to its specific intent is both

28 demonstrably false and ignores the Court’s ruling on Microsoft’s prior motion to dismiss. The Court

                                                        5                     CASE NO. 24-CV-04722-YGR
                                                                          PLAINTIFFS’ OPP. TO MSOFT MTD
     Case 4:24-cv-04722-YGR          Document 182          Filed 06/20/25   Page 8 of 12



 1 has determined that Plaintiffs adequately pled Microsoft’s knowing participation and specific intent

 2 for tortious interference and aiding and abetting breach of fiduciary duty based on the identical

 3 conduct now alleged as RICO predicate acts. Dkt. 163 at 4-5, 8; Dkt. 170 ¶¶ 284, 289, see also id.

 4 419, 446 (incorporating by reference in the RICO claims the allegations in these cause action).

 5 Microsoft cannot now claim an absence of specific intent as to predicate acts for RICO purposes

 6 when the Court has already found these same allegations sufficient to state claims for intentional

 7 torts based on the same underlying conduct. Id.

 8          Further, as Microsoft knows from a prior RICO ruling, “specific intent to deceive or defraud

 9 [] requires only a showing of the defendants’ state of mind, for which general allegations are
10 sufficient.” Odom v. Microsoft Corp., 486 F.3d 541, 554 (9th Cir. 2007) (en banc). “The only

11 aspects of wire fraud that require particularized allegations are the factual circumstances of the

12 fraud itself.” Id. Here, the SAC contains numerous allegations of Microsoft’s intent that satisfy

13 Odom. The RICO claim alleges Microsoft “intentionally concealed” its conduct, Dkt. 170 ¶ 436,

14 “voluntarily and intentionally committed” predicate acts, id. ¶ 437, “participated as a principal in

15 the pattern of racketeering activity by, acting with intent or knowledge,” id. ¶ 441, acted “willfully”

16 in deceiving donors and the public, id. ¶ 446(b), and “intentionally execut[ed] the reshuffling of

17 OpenAI, Inc.’s assets,” id. ¶ 446(d). The law requires nothing more.

18   III.   THE SAC ADEQUATELY PLEADS MICROSOFT’S PARTICIPATION IN
            OPERATING A RICO ENTERPRISE CONGRESS INTENDED TO REACH.
19

20          This Court directed Plaintiffs to “demonstrate how the defendants named under Section

21 1962(c) conducted OpenAI’s affairs in a manner RICO was intended to reach.” Dkt. 163 at 10. The

22 SAC does exactly that—showing how Microsoft exercised control over OpenAI’s operations to

23 knowingly perpetuate and profit from a web of wire fraud, corruption, and misuse of the charitable

24 form, detailed hereinabove.

25          As the SAC alleges, Microsoft was no passive investor—its exclusive compute agreement

26 gave it absolute power over OpenAI’s most precious resource and thus, OpenAI itself. Dkt. 170

27 ¶¶ 110, 157. And, as stated above, the Court has already held that Plaintiffs plausibly alleged that

28 “Microsoft . . . unlawfully exploited its position of power over OpenAI, Inc.—e.g., by leveraging its

                                                       6                    CASE NO. 24-CV-04722-YGR
                                                                        PLAINTIFFS’ OPP. TO MSOFT MTD
     Case 4:24-cv-04722-YGR          Document 182          Filed 06/20/25    Page 9 of 12



 1 position as OpenAI’s exclusive compute supplier and primary current funder[.]” Dkt. 163 at 4-5;

 2 Dkt. 170 ¶ 285. Microsoft furthered and maintained its operational control of OpenAI through Reid

 3 Hoffman, who simultaneously served on Microsoft’s and OpenAI’s boards from 2017 to March

 4 2023, acting as Microsoft’s agent in directing the enterprise’s affairs. Id. ¶¶ 161, 367. When

 5 Altman’s dismissal threatened Microsoft’s control over the OpenAI enterprise, it forcibly

 6 intervened, pressuring the removal of independent Board members, reinstating Altman in just five

 7 days, and planting its agent, Deannah Templeton, on OpenAI’s Board. Id. ¶¶ 146-70. Microsoft only

 8 stepped down from the Board after it was widely reported that the FTC was investigating the

 9 Microsoft-OpenAI relationship for antitrust violations—in other words, because Microsoft had
10 monopolistic control over OpenAI. Id. ¶ 358. While Microsoft now distances itself from OpenAI

11 amid litigation and U.S. and foreign antitrust investigations, its systematic infiltration and

12 manipulation delivered precisely what it boasted: “all the IP rights and all the capability” to run

13 OpenAI independently. Id. ¶ 155 (“We have the people, we have the compute, we have the data, we

14 have everything.”), ¶ 156 (Microsoft’s CEO: “We are in there. We are below them, above them,

15 around them.”). Microsoft did not exercise the power it accumulated over OpenAI through

16 legitimate means—it operated the enterprise to perpetuate and maximize the benefits of systematic

17 wire fraud and charitable asset diversion, as detailed above. There is perhaps no better

18 demonstration of the corporatization of systematic unlawful conduct that RICO was enacted to

19 combat than Microsoft’s own characterization of the foregoing as “normal business activity,” Dkt.

20 173 at 7.

21          Microsoft’s contention that applying RICO here “distorts the law’s purpose,” is misplaced—

22 RICO was enacted precisely to address schemes like this, where legitimate businesses are

23 infiltrated, corrupted, and operated through ongoing patterns of fraud. The Ninth Circuit sitting en

24 banc has already determined that Microsoft itself is subject to RICO liability for analogous

25 fraudulent business conduct. Odom, 486 F.3d at 543 (reversing and remanding improper dismissal

26 of RICO claims against corporate defendants where “the policies and practices by Best Buy and its

27 employees relating to distribution of the Trial CDs—including but not limited to the deliberate

28 failure to make disclosures and making of misrepresentations—have been formulated and

                                                       7                     CASE NO. 24-CV-04722-YGR
                                                                         PLAINTIFFS’ OPP. TO MSOFT MTD
     Case 4:24-cv-04722-YGR          Document 182         Filed 06/20/25       Page 10 of 12



 1 implemented by Best Buy jointly with Microsoft, by agreement with Microsoft, and/or with

 2 Microsoft’s knowledge and approval for the benefit of both Best Buy and Microsoft.”) (emphasis

 3 added).

 4           The Supreme Court has also made short shrift of courts that condemn the use of civil RICO

 5 as “outrageous” because “[i]nstead of being used against mobsters and organized criminals, it has

 6 become a tool for everyday fraud cases brought against ‘respected and legitimate enterprises.’”

 7 Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 499 (1985). “Congress wanted to reach both

 8 ‘legitimate’ and ‘illegitimate’ enterprises.” Id. Indeed, while “[i]t is true that private civil actions

 9 under the statute are being brought almost solely against [‘legitimate’] defendants, rather than
10 against the archetypal, intimidating mobster . . . . this defect—if defect it is—is inherent in the

11 statute as written, and its correction must lie with Congress.” Id.

12           Finally, as RICO’s drafter, Professor G. Robert Blakey, pointedly observed, “We don’t want

13 one set of rules for people whose collars are blue or whose names end in vowels, and another set for

14 those whose collars are white and have Ivy League diplomas.” Hannah Borowski, Union Autonomy

15 and Federal Intrusion, 95 U. Colo. L. Rev. 267, 280 (2024) (quoting Alain L. Sanders & Priscilla

16 Painton, Showdown At Gucci Gulch: Designed as a Mob Buster, RICO Has Become a Powerful

17 Catchall, Time, Aug. 21, 1989, at 48.). Microsoft’s suggestion that it deserves immunity from RICO

18 because its frauds occur in boardrooms rather than backrooms smacks of exactly that kind of two-

19 tiered justice.

20    IV.    AT A MINIMUM, THE RICO CONSPIRACY COUNT SHOULD
             SURVIVE AGAINST MICROSOFT.
21

22           Even in the unlikely event this Court still agreed with Microsoft’s arguments regarding the

23 underlying RICO claim, Microsoft’s Motion to Dismiss the conspiracy claim (Count XXI) should

24 be denied because the SAC contains ample allegations from which to infer Microsoft’s agreement to

25 participate in the other Defendants’ fraudulent enterprise, which is all the conspiracy provision

26 requires.

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                                                         8                     CASE NO. 24-CV-04722-YGR
                                                                           PLAINTIFFS’ OPP. TO MSOFT MTD
     Case 4:24-cv-04722-YGR        Document 182        Filed 06/20/25      Page 11 of 12



 1          A.     RICO Conspiracy Does Not Require Microsoft to Have Committed
                   Predicate Acts.
 2

 3          Microsoft’s primary defense—that it committed no predicate acts—is legally irrelevant to

 4 the conspiracy charge. The Supreme Court settled this in Salinas v. United States, 522 U.S. 52, 61-

 5 66 (1997), holding that conspiracy liability requires only that a defendant “adopt the goal of

 6 furthering or facilitating” the enterprise’s objectives. Id. at 65. “He may do so in any number of

 7 ways short of agreeing to undertake all of the acts necessary” for the underlying substantive

 8 violation. Id. The Ninth Circuit consistently applies this principle: “[A] defendant may be held

 9 liable for conspiracy to violate section 1962(c) if he knowingly agrees to facilitate a scheme which
10 includes the operation or management of a RICO enterprise.” United States v. Fernandez, 388 F.3d

11 1199, 1230 (9th Cir. 2004) (internal quotation marks omitted) (emphasis added); Oki Semiconductor

12 Co. v. Wells Fargo Bank, 298 F.3d 768, 774-75 (9th Cir. 2002).

13          B.     Microsoft’s Agreement to Participate in the Fraudulent Enterprise
                   Can Be Readily Inferred from Its Conduct.
14

15          RICO conspiracy requires only allegations of an agreement to participate in the fraudulent

16 enterprise. As the Ninth Circuit explained in Oki Semiconductor, 298 F.3d at 774-75: “It is the mere

17 agreement to violate RICO that § 1962(d) forbids; it is not necessary to prove any substantive RICO

18 violations ever occurred as a result of the conspiracy.” Moreover, “[t]he illegal agreement need not

19 be express as long as its existence can be inferred from words, actions, or interdependence of

20 activities and persons involved.” Id. at 775 (internal quotation marks omitted).

21          Microsoft’s agreement to participate in the RICO conspiracy is demonstrated by its

22 systematic conduct over multiple years. Microsoft invested $13.75 billion in the for-profit scheme

23 knowing OpenAI purported to be a charity while deliberately structuring its investment to extract

24 maximum commercial value for its For-Profit Entities, at the expense of the charity, Dkt. 170 ¶ 348;

25 purged the charity’s Board when it threatened Microsoft’s interests, id. ¶ 159; and engaged in the

26 conduct detailed above showing its specific intent to further OpenAI’s fraudulent scheme for

27 Microsoft’s primary benefit. This pattern of coordinated activity establishes the requisite agreement

28 under § 1962(d) through Microsoft’s “words, actions, [and the] interdependence of activities.” Oki

                                                      9                     CASE NO. 24-CV-04722-YGR
                                                                        PLAINTIFFS’ OPP. TO MSOFT MTD
     Case 4:24-cv-04722-YGR         Document 182         Filed 06/20/25      Page 12 of 12



 1 Semiconductor, 298 F.3d at 775.

 2          Once an agreement is established, “[a]ll conspirators are liable for the acts of their co-

 3 conspirators.” Id. Microsoft cannot escape liability by claiming it joined the conspiracy after it was

 4 already underway as conspirators need not agree simultaneously. A defendant who joins an ongoing

 5 conspiracy becomes liable for the entire enterprise. United States v. Saavedra, 684 F.2d 1293, 1301

 6 (9th Cir. 1982) (In conspiracy to commit wire fraud, “a conspirator who joins a pre-existing

 7 conspiracy is bound by all that has gone on before in the conspiracy.”) (citations omitted). The SAC

 8 alleges Microsoft’s knowing agreement to participate in and further the fraudulent enterprise, and

 9 that is enough. Dkt. 170 ¶¶ 455-56.
10                                              CONCLUSION

11          The SAC adequately pleads that Microsoft committed predicate acts, possessed fraudulent

12 intent, and actively participated in the operation and knowing facilitation of a RICO enterprise.

13 Microsoft’s Motion attempts to portray it as an innocent latecomer to isolated acts of prior fraud, but

14 the SAC reveals Microsoft as an architect which infiltrated OpenAI, Inc. and helped to

15 systematically transform donor deception into an unlawful enterprise from which Microsoft has

16 reaped, and continues to reap, considerable benefits. The Motion should be denied, and Microsoft

17 must answer for its central role in corrupting a charity for its private gain.

18

19    DATED: June 20, 2025                            Respectfully Submitted,

20                                                    TOBEROFF & ASSOCIATES, P.C.
21
                                                            /s/ Marc Toberoff
22                                                             Marc Toberoff

23                                                    Attorneys for Plaintiffs Elon Musk
                                                      and X.AI Corp.
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                                                       10                     CASE NO. 24-CV-04722-YGR
                                                                          PLAINTIFFS’ OPP. TO MSOFT MTD
